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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :       Case Number: 1:21-cr-00537-TJK
RYAN SAMSEL                                   :
                                              :
                       Defendant.             :       Hon. Timothy J. Kelly


                GOVERNMENT’S MOTION FOR EXCLUDABLE DELAY

       The Government respectfully requests that the Court find that the time period between

October 14, 2021 and November 9, 2021 constitute excludable delay.

       As set forth in the Government’s previous filing, substantial discovery has already been

provided in this case. However, because the defendant’s criminal acts took place at the same

general time and location as many other charged crimes, the government’s investigation into the

breach of the United States Capitol on January 6, 2021(the “Capitol Breach”) has resulted in the

accumulation and creation of a massive volume of data that may be relevant to many defendants.

The government understands the magnitude and complexity of the discovery project presented by

the January 6 attack on the Capitol. In particular, as alleged here, the Defendant, along with other

rioters, pushed and pulled on metal barricades until the crowd successfully pushed the barricades

down and on top of the officers (among other actions taken by the Defendant on January 6, 2021).

Thus, the Defendant’s case, like other Capitol Breach cases, implicates discovery from other

defendants. The discovery specific to the Defendant is also voluminous, including thousands of

pages of materials, extractions from cellular phones, medical records for O-1, evidence regarding

defendants who also participated in the alleged assault, and vast numbers of videos and

screenshots.

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       Moreover, the Defendant’s attorneys and the Government have had numerous discussions

about the status of the case and discovery. The defense attorneys will need time to review and

evaluate all of this evidence, some of which can only be reviewed at the U.S. Attorney’s Office.

In addition, the Government’s investigation is ongoing.        For example, the Government on

September 21, 2021, the government interviewed another law enforcement officer and the

Government anticipates a Superseding Indictment will be filed with additional charges regarding

Defendant Samsel’s interactions with that officer on January 6, 2021. Further, the ongoing

COVID-19 global pandemic has slowed the process of doing in-person meetings, investigating,

and interviewing potential victims and witnesses. Finally, the parties have not yet had the

opportunity to engage in meaningful plea discussions.

       The Government thus moves for a finding of excludable delay between the dates of

October 14, 2021 and November 9, 2021. As set forth above, this case is “unusual and complex”

due to the nature of the prosecution and involves substantial amount of discovery. See 18 U.S.C.

§ 3161(h)(7)(B)(ii), see also § 3161(h)(7)(B)(iv), and that, therefore, this time should be excluded

in calculating the time within which the defendant must be brought to trial under the Speedy Trial

Act, 18 U.S.C. § 3161(c)(1). The excludable delay requested is reasonable and necessary so that

defendant can fully prepare for trial and review the voluminous evidence in this case. Accordingly,

the Government requests that the Court find that pursuant to 18 U.S.C. § 3161(h)(7)(A), the time

period shall constitute excludable delay and that the ends of justice served outweigh the best

interests of the defendant and the public in a speedy trial. The Government has conferred with the

defense, who indicate they oppose this motion.



                                              Respectfully submitted,



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                                  CERTIFICATE OF SERVICE


        On October 15, 2021, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.




                                                        /s/__Danielle Rosborough
                                                        Danielle Rosborough
                                                        Trial Attorney
                                                        U.S. Department of Justice

Date: October 15, 2021




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